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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         Case No. A18-69002-JWC
         CHARLES ANTONIO CROFF

                     Debtor(s)


          STANDING CHAPTER 13 TRUSTEE’S FINAL REPORT AND ACCOUNT

        Nancy Whaley, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as follows:


         1) The case was filed on 11/09/2018.

         2) The plan was confirmed on 05/01/2019.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
06/19/2019.

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was converted on 04/07/2020.

         6) Number of months from filing to last payment: 16.

         7) Number of months case was pending: 17.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $84,629.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor             $10,882.50
           Less amount refunded to debtor                            $0.00

NET RECEIPTS:                                                                                  $10,882.50


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $4,994.24
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $624.86
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $5,619.10

Attorney fees paid and disclosed by debtor:                       $0.00


Scheduled Creditors:
Creditor                                            Claim      Claim          Claim      Principal     Int.
Name                                  Class       Scheduled   Asserted       Allowed       Paid        Paid
ALLY FINANCIAL                   Unsecured           NA        8,719.91       8,719.91         0.00      0.00
ALLY FINANCIAL                   Secured       20,807.00     12,500.00       12,500.00     1,563.05    685.76
CAPIT AL ONE BANK (USA), N.A. BY AMERICAN
                                 Unsecured INFOSOURCE
                                                  950.00LP AS AGENT
                                                                 950.18         950.18         0.00      0.00
COVINGT ON CREDIT OF GEORGIA I #GA0012
                                 Unsecured        894.00         849.48         849.48         0.00      0.00
CROWN RIVER HOMEOWNERS ASSOC.,   Secured
                                    INC.          300.00         546.00         546.00       164.27      0.00
ACCEPT ANCE NOW                  Unsecured          0.00            NA             NA          0.00      0.00
GEORGIA DEPART MENT OF REVENUE   Priority           0.00            NA             NA          0.00      0.00
INT ERNAL REVENUE SERVICE        Priority           0.00            NA             NA          0.00      0.00
ACCEPT ANCE NOW                  Unsecured          0.00            NA             NA          0.00      0.00
ALLY FINANCIAL                   Unsecured          0.00            NA             NA          0.00      0.00
AT LANT A MEDICAL CENT ER        Unsecured      1,600.00            NA             NA          0.00      0.00
CARFINANCE.COM                   Unsecured          0.00            NA             NA          0.00      0.00
CB/PIER1                         Unsecured          0.00            NA             NA          0.00      0.00
CIT I AUT O                      Unsecured          0.00            NA             NA          0.00      0.00
COMENIT Y BANK/PIER 1            Unsecured          0.00            NA             NA          0.00      0.00
COMENIT Y BANK/PIER 1            Unsecured          0.00            NA             NA          0.00      0.00
COMENIT YBANK/VICT ORIA          Unsecured          0.00            NA             NA          0.00      0.00
COMENIT YBANK/VICT ORIA          Unsecured          0.00            NA             NA          0.00      0.00
COMENIT YCB/FOREVER21            Unsecured          0.00            NA             NA          0.00      0.00
COMENIT YCB/FOREVER21            Unsecured          0.00            NA             NA          0.00      0.00
COMENIT YCB/HSN                  Unsecured          0.00            NA             NA          0.00      0.00
CONVERGENT OUT SOURCING          Unsecured      1,299.00            NA             NA          0.00      0.00
T IMEPAYMENT CORP                Unsecured          0.00            NA             NA          0.00      0.00
WEBBANK/FINGERHUT                Unsecured        352.00            NA             NA          0.00      0.00
WELLS FARGO                      Unsecured          0.00            NA             NA          0.00      0.00
WORLD FINANCE CORPORAT           Unsecured          0.00            NA             NA          0.00      0.00
WORLD FINANCE CORPORAT           Unsecured          0.00            NA             NA          0.00      0.00
WORLD FINANCE CORPORAT           Unsecured          0.00            NA             NA          0.00      0.00
WORLD FINANCE CORPORAT           Unsecured          0.00            NA             NA          0.00      0.00
WORLD FINANCE CORPORAT           Unsecured          0.00            NA             NA          0.00      0.00



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Scheduled Creditors:
Creditor                                       Claim         Claim       Claim       Principal        Int.
Name                             Class       Scheduled      Asserted    Allowed        Paid           Paid
WORLD FINANCE CORPORAT       Unsecured           0.00             NA          NA              0.00       0.00
WORLD FINANCE CORPORAT       Unsecured           0.00             NA          NA              0.00       0.00
WORLD FINANCE CORPORAT       Unsecured           0.00             NA          NA              0.00       0.00
WORLD FINANCE CORPORAT       Unsecured           0.00             NA          NA              0.00       0.00
WORLD FINANCE CORPORAT       Unsecured           0.00             NA          NA              0.00       0.00
WORLD FINANCE CORPORAT       Unsecured           0.00             NA          NA              0.00       0.00
WST SHMRK                    Unsecured         970.00             NA          NA              0.00       0.00
COVINGT ON CREDIT /SMC       Unsecured           0.00             NA          NA              0.00       0.00
EMORY HEALT HCARE            Unsecured           0.00             NA          NA              0.00       0.00
I C SYST EM                  Unsecured          98.00             NA          NA              0.00       0.00
KAY JEWELERS/GENESIS         Unsecured         294.00             NA          NA              0.00       0.00
SYNCB/MC                     Unsecured           0.00             NA          NA              0.00       0.00
ZEBIT                        Unsecured       1,720.00             NA          NA              0.00       0.00
SOUT HWEST AIRLINES FCU      Secured        12,180.00       12,520.65   12,520.65         1,390.30     408.63
T IMEPAYMENT CORP            Unsecured       9,247.00        8,399.60    8,399.60             0.00       0.00
T IMEPAYMENT CORP            Unsecured      11,133.00        8,581.82    8,581.82             0.00       0.00
W.S. BADCOCK CORPORAT ION    Secured         1,400.00            0.00    3,134.80             0.00       0.00
WELLS FARGO BANK, N.A.       Secured         2,917.53        2,917.53    2,917.53           549.37       0.00
WEST ERN SHAMROCK CORPORAT ION
                             Unsecured
                                DBA WEST ERN FINANCE
                                                 0.00          955.87      955.87             0.00       0.00
WORLD FINANCE CORPORAT ION Secured           2,520.00          500.00      500.00           500.00       2.02
WORLD FINANCE CORPORAT ION Unsecured              NA         1,725.14    1,725.14             0.00       0.00


Summary of Disbursements to Creditors:
                                                              Claim          Principal               Interest
                                                           Allowed               Paid                   Paid
Secured Payments:
      Mortgage Ongoing                                        $0.00            $0.00                 $0.00
      Mortgage Arrearage                                  $2,917.53          $549.37                 $0.00
      Debt Secured by Vehicle                            $25,020.65        $2,953.35             $1,094.39
      All Other Secured                                   $4,180.80          $664.27                 $2.02
TOTAL SECURED:                                           $32,118.98        $4,166.99             $1,096.41

Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00               $0.00
        Domestic Support Ongoing                              $0.00               $0.00               $0.00
        All Other Priority                                    $0.00               $0.00               $0.00
TOTAL PRIORITY:                                               $0.00               $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                              $30,182.00               $0.00               $0.00




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 Disbursements:

          Expenses of Administration                               $5,619.10
          Disbursements to Creditors                               $5,263.40

 TOTAL DISBURSEMENTS :                                                                    $10,882.50


        12) The trustee certifies that the foregoing summary is true and complete and all administrative
matters for which the trustee is responsible have been completed. The trustee requests that the trustee
be discharged and granted such relief as may be just and proper.

Dated: 04/21/2020                                   By: /s/ Nancy Whaley
                                                                           Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                    CERTIFICATE OF SERVICE


Case No. A18-69002-JWC


This is to certify that I have this day served the following with a copy of the foregoing Trustee's Final
Report by depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.

Debtor(s):
CHARLES ANTONIO CROFF
4845 PRICE STREET
FOREST PARK, GA 30297


Attorney for the Debtor(s):
STANTON AND WORTHY, LLC
547 PONCE DE LEON AVENUE NE
SUITE 150
ATLANTA, GA 30308




This the 21st day of April, 2020.


/s/____________________________________
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   State Bar No. 377941
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201




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